Case 07-11047-CSS Doc 3173-7 Filed 03/06/08 Page 1of2

EXHIBIT D
Case 07-11047-CSS Doc 3173-7 Filed 03/06/08 Page 2 of 2

PART III -AFFECTED EXCEPTIONS (JUNIOR)

THE FOLLOWING ARE ALSO EXCEPTIONS TO COVERAGE IN THIS FORECLOSURE TITLE POLICY BUT WILL
NOT BE SHOWN IN THE SCHEDULE OF EXCEPTIONS IN THE POLICY THE COMPANY IS COMMITTING TO
ISSUE IN PARAGRAPH 5 OF SCHEDULE A UPON COMPLETION OF A LAWFULLY CONDUCTED
FORECLOSURE AND HAVING MET THE COMMITMENT REQUIREMENTS:

3. A DEED OF TRUST TO SECURE AN ORIGINAL INDEBTEDNESS OF $85,243.00, AND ANY OTHER AMOUNTS
OR OBLIGATIONS SECURED THEREBY, RECORDED MAY 22, 2006 IN BOOK 20060522 AS INSTRUMENT NO.
0003896 OF OFFICIAL RECORDS.

DATED: MAY 11, 2006.

TRUSTOR: CYNTHIA CARRILLO, A MARRIED WOMAN AS SOLE AND SEPARATE
PROPERTY.

TRUSTEE: FIRST AMERICAN TITLE COMPANY OF NEVADA.

BENEFICIARY: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. ( "MERS"), AS
NOMINEE FOR

LENDER: AMERICAN HOME MORTGAGE,

“a —

PAGE 7
